           Case 1:20-cv-00877-CCC Document 22 Filed 12/30/20 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE EMMES COMPANY, LLC,                      :   CIVIL ACTION NO. 1:20-CV-877
                                             :
                     Plaintiff               :   (Judge Conner)
                                             :
               v.                            :
                                             :
SAP AMERICA, INC.,                           :
                                             :
                     Defendant               :

                                        ORDER

      AND NOW, this 30th day of December, 2020, upon consideration of the

motion (Doc. 11) to dismiss or, alternatively, to transfer, and the parties’ respective

briefs in support of and opposition to said motion, and for the reasons set forth in

the accompanying memorandum, it is hereby ORDERED that:

      1.       The motion (Doc. 11) is GRANTED only to the extent it requests
               transfer to the United States District Court for the Eastern District of
               Pennsylvania.

      2.       The Clerk of Court shall TRANSFER this case to the United States
               District Court for the Eastern District of Pennsylvania.

      3.       The Clerk of Court shall thereafter CLOSE this case.


                                         /S/ CHRISTOPHER C. CONNER
                                         Christopher C. Conner
                                         United States District Judge
                                         Middle District of Pennsylvania
